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IN THE UNITED STATES DISTRICT COURT
TERRITORY OF GUAM

 

CAMACHO FAMILY PARTNERSHIP dba | Civil Case No. 13-00026 (Lead Case)
"DIRT DOKTOR",
As Consolidated with
Plaintiff, Civil Case Nos. 14-00021 and CV15-00013_.
VS.
‘PATRICIA I. ROMERO, INC.,
Defendant. -
JURY VERDICT

This Document Relates To:
ALL ACTIONS:

 

 

 

 

We, the jury, after considering the Jury Instructions given to us, hereby present our following
Answers to Questions submitted by the Court, to which we have all agreed:

QUESTION NO. 1: Is the Camacho F amily Partnership owed any money from defendant
PWB for work performed by the Camacho Family Partnership on the Red Horse project? (yes or no)

ANSWER NO. 1:

If your answer is “yes”, answer Question No. 2. If your answer is “no”, do not answer

Question No. 2 and proceed to Question No. 3.

QUESTION NO. 2: State the amount owed, including simple interest at the rate of 6% per
annum from the date you determine that payment(s) should have been made (insert the amount).

ANSWER NO. 2: $

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QUESTION NO. 3: Was the Camacho Family Partnership solely responsible for not
completing its subcontract work by December 15, 2013, on the Red Horse project? (yes or no)

ANSWER NO. 3: |

If your answer to Question No. 3 is “no”, do not answer Questions Nos. 4 or 5 and

proceed to Question No. 6. If your answer to Question No. 3 is “yes”, answer Question No. 4.

QUESTION NO.4: Was PWB monetarily damaged as a direct result of Plaintiff failing to
complete its subcontract work by December 15, 2013? (yes or no)

ANSWER TO QUESTION NO. 4:

If your answer is “yes”, answer Question No. 5. If your answer is “no”, do not answer

Question No. 5 and proceed to Question No.6.

QUESTION NO. 5: State only the amount of PWB’s monetary damages that exceed the total
value of the Plaintiff's subcontract price if fully performed, including additional work, if any (insert

the amount of such excess).

ANSWER TO QUESTION NO. 5: $

QUESTION NO. 6: Did the Camacho Family Partnership materially breach its subcontract
with PWB by not finishing the P.V. Array on the Military Working Dog project? (yes or no)

ANSWER TO QUESTION NO. 6:

If your answer is “no, skip Question Nos. 7 and 8, and procced to Question No. 9. If

your answer is “yes”, proceed to Question No. 7.

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QUESTION NO.7: Was PWB monetarily damaged as a direct result of the Camacho Family
Partnership not finishing the P.V. Array on the MWD project? (yes or no)

ANSWER TO QUESTION NO.7:

If your answer to Question No. 7 is “no”, skip Question No. 8, and proceed to Question

No.9. If your answer to Question No. 7 is “yes”, answer Question No. 8.

QUESTION NO. 8: State only the amount of PWB’s monetary damages that exceed the total
value of the Plaintiff's subcontract price if fully performed, including additional work, if any (insert
the amount of such excess).

ANSWER TO QUESTION NO. 8: $

 

QUESTION NO. 9: Is the Camacho Family Partnership owed any money from PWB for
work performed by the Camacho Family Partnership on the MWD project? (yes or no) |

ANSWER TO QUESTION NO. 9:

If your answer is “no”, sign and turn in this Form. If your answer is “yes”, answer

Question No. 10.

QUESTION NO. 10: State the amount owed, including simple interest at the rate of 6% per
annum from the date you determine that payment(s) should have been made (insert the amount).

ANSWER NO. 10: $

 

FOREPERSON (Name and Juror Number)

Date: , 2017

 

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